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            5
            6   Attorneys for Defendant
                LAJAMAAL BRUMFIELD
            7
            8
                                       IN THE UNITED STATES DISTRICT COURT
            9
                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
           10
           11
                UNITED STATES OF AMERICA              )                    Case 2:10-cr-00097-JAM
           12                                         )
                      Plaintiff,                      )
           13                                         )                    WAIVER OF PRESENCE
           14                                         )                    PURSUANT TO RULE 43 OF THE
                vs.                                   )                    FED. RULES OF CRIMINAL
           15                                         )                    PROCEDURE AND ORDER
                                                      )
           16    LAJAMAAL BRUMFIELD,                  )
           17         Defendant.                      )
                _____________________________________ )
           18                                         )
                                                      )
           19
           20
                        Pursuant to Federal Rules of Criminal Procedure, Rule 43, defendant, LAJAMAAL
           21
                BRUMFIELD, herby waives the right to be present in person in open court upon the hearing of
           22
                any motion or other proceeding in this case, including, but not limited to, when the case is set for
           23
                trial, when a continuance is ordered, and when any other action is taken by the Court before or
           24
                after trial, except upon arraignment, initial appearance, trial confirmation hearing, entry of plea,
           25
                and every stage of trial including verdict, impanelment of jury and imposition of sentence.
           26
                Defendant hereby requests the Court to proceed during every absence of his which the Court
           27
                may permit pursuant to this waiver and agrees that his interests will be deemed represented at all
           28
                times by the presence of his attorney, the same as if the defendant were personally present.
                                                                 -1-
                ORDER                                                                 Case No. 2:08-CR-0329 JAM



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            1   Defendant further agrees to be present in Court ready for trial any day and hour the Court may
            2   fix in his absence.
            3           The defendant further acknowledges that he has been informed of his rights under
            4   Title 18 U.S.C. §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to schedule
            5   dates and consent to the exclusion of time pursuant to said Act without her personal appearance.
            6
            7   Dated: April 27, 2010                                /s/ LAJAMAAL BRUMFIELD
            8
            9           I certify that I have a duly signed and executed copy of this Waiver signed by Defendant
           10   LAJAMAAL BRUMFIELD, in accordance with this District’s Local Rules. Assistant U.S.
           11
                Attorney Jared Dolan has no objection to the personal appearance waiver. Attached as Exhibit A
           12
                is a copy of said signed waiver of personal appearance.
           13
           14
                Dated: April 28, 2010                                /s/ Donald H. Heller
           15                                                        DONALD H. HELLER, ESQ.
                                                                     Attorney for Defendant
           16
                                                                     LAJAMAAL BRUMFIELD
           17
           18                                               ORDER
           19           GOOD CAUSE APPEARING, Defendant LAJAMAAL BRUMFIELD, waiver of
           20   personal appearance is hereby accepted by the Court. IT IS SO ORDERED.
           21
           22   Dated: April 28, 2010                                /s/ John A. Mendez_______________
           23                                                        Hon. John A. Mendez
                                                                     United States District Judge
           24
                .
           25
           26
           27
           28

                                                               -2-
                ORDER                                                              Case No. 2:08-CR-0329 JAM



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